Case 2:23-cv-01130-GRB-ARL Document 21-11 Filed 04/21/23 Page 1 of 5 PageID #: 565




         EXHIBIT G TO SPITZER
            DECLARATION
              Case 2:23-cv-01130-GRB-ARL Document 21-11 Filed 04/21/23 Page 2 of 5 PageID #: 566




                                 TABLE OF WEAPONS LICENSING LAWS*
STATE           CARRY   FIRE OR       HUNT    COMMERCIAL   GUNPOWDER     SELLER    NAMED      PRE-     REG
                OR      DISCHARGE     SPORT   WEAPON       EXPLOSIVES    REGISTERS GROUPS     CIVIL    TAX
                HAVE    PERMIT                SALE FIRE    LICENSING     BUYER                WAR
                                              TRANSPORT                                       BLACKS
Alabama                 1879                  1892, 1898                                      1805     1867
Alaska                                                                                        1838
Arizona
Arkansas                1871
                        6981                  1882
California      1890,                         1854         1883, 1889    1917,1923,
                1891,                                                    1931
                1896,
                1917,
                1923
Colorado                1875                                             1911
Connecticut     1890,   1835, 1845,           1923         1775, 1827,                1665
                1923    1869, 1877                         1874, 1901,
                                                           1909
Delaware                                      1911         1911          1911         1909    1797,
                                                                                              1832,
                                                                                              1841,
                                                                                              1843
District of     1892,
Columbia        1932
Florida         1893,                         1887, 1895                              1847
                1931
Georgia         1910                          1902                                            1768
Hawaii          1925,                 1870,   1927, 1933                 1927,1933,
                1927,                 1933                               1933
                1933
               Case 2:23-cv-01130-GRB-ARL Document 21-11 Filed 04/21/23 Page 3 of 5 PageID #: 567




Idaho




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Illinois                                          1841,1869            1814,1914    1851,1869




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Indiana          1925                             1855                 1895, 1925   1847                               1925
Iowa                                              1853,1880




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                                                                                    1873
Kansas
Kentucky                                                                            1864, 1874
Louisiana                                         1870                 1857                                                        1848
Maine                                                                               1848,1873,
                                                                                    1874
Maryland




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                                                               1876,                                                               1806
                                                               1882
M assachusetts   1906,                                                              1651,1895,                         1769,1884
                 1927                                                               1898                               1922
M ichigan        1925,                            1848, 1895                                     1913,1925,
                 1927                                                                            1927
M innesota       1882                             1858                              1858, 1889
M ississippi                                                           1906                                                        1804    1867
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Missouri                                          1843,1894            1888,1921                 1921                  1844        1818,
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                 1895                                                                                                  1913
Nebraska         1895                                                               1869
Nevada
New              1917,                            1823, 1870                        1820                               1917,1923
Hampshire        1923
N ew Jersey      1873,                            1871         1902                                                    1914,1916
                 1905,
              Case 2:23-cv-01130-GRB-ARL Document 21-11 Filed 04/21/23 Page 4 of 5 PageID #: 568




                 1927,
                 1934
N ew Mexico                            1915
N ew York        1881,   1824, 1881,   1923                 1885, 1890,   1911        1680,1884
                 1885,   1898                               1903                      1885,1911,
                 1891                                                                 1923
North




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                                                                                                       O
                 1919                          1919                       1919                                 1909
Carolina
N orth Dakota    1915,                                                    1923
                 1923,
                 1925,
                 1931
Ohio             1933    1823, 1855,                        1835,1878,
                         1856                               1884,1889,
                                                            1900,1902



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                                               Os
                                               o
Oklahoma
Oregon           1898,   1868,1879                          1872          1913,1917
                 1913,
                 1917,
                 1925
Pennsylvania     1929,   1713,1721,                                                   1763,1903
                 1931    1721,1750,
                         1750,1824                                                                 i




Rhode Island     1927                  1907                 1821,1902
South            1934    1802                  1890, 1893                                              1740    1923
Carolina
South Dakota                           1899
Tennessee                                      1863, 1879
Texas                    1898          1919    1872,1880,
                                               1899
                 OO
                 OO
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Utah                                   1905                 1875                      1850,1905
                                       1—H
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                                       o
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Vermont                  1890, 1895                         1891,1894
Virginia         1908,   1859                                             1926                         1792,   1926
             Case 2:23-cv-01130-GRB-ARL Document 21-11 Filed 04/21/23 Page 5 of 5 PageID #: 569




                 1926                                                                             1805,
                                                                                                  1806
W ashington      1895    1890                       1892               1881,1881,                 1911
State                                                                  1883
W est Virginia   1881,   1875           1909        1876                            1925
                 1925
W isconsin




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                                                                       00
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                 1896    1888
W yoming                 1893           1899,                                       1933   1915
                                        1913




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TOTAL            29      26
STATES




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